                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )      Case No. 4:11-CR-00263-1-BCW
                                             )
MARCO ANTONIO                                )
VERDUCZO-MORETT,                             )
                                             )
                      Defendant.             )

                                            ORDER

       Before the Court is Magistrate Judge Robert E. Larsen’s Report and Recommendation

(Doc. #83) denying Defendant’s Motion to Suppress Evidence and Statements (Doc. #69).

Defendant filed objections to the Report and Recommendation (Doc. #88). After an independent

review of the record, the applicable law, and the parties’ arguments, the Court adopts Magistrate

Judge Larsen’s findings of fact and conclusions of law. Accordingly, it is hereby

       ORDERED Magistrate Judge Larsen’s Report and Recommendation (Doc. #83) be

attached to and made part of this Order, and Defendant’s Motion to Suppress (Doc. #69) is

DENIED.

       IT IS SO ORDERED.




DATED: July 23, 2013                                /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT




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